    Case: 1:20-cr-00368 Document #: 14 Filed: 08/13/20 Page 1 of 1 PageID #:164




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
                    v.                     )
                                           )   No. 20 CR 368
 COMMONWEALTH EDISON,                      )
                                           )
                            Defendant.     )

         EMERGENCY MOTION FOR LEAVE TO FILE INSTANTER

      Movant, Timothy J. Hufman, through The Peacock Law Group and Joseph A.

Stewart, asks this court to allow movant to file the attached motion instanter and

further to grant the injunctive relief set forth in paragraphs 48 through 57 of the

attached motion. For the reasons set forth therein, movant will lose significant

procedural rights if the court does not immediately bar the criminal defendant from

sending the payment for fine to the government, as the Deferred Prosecution

Agreement anticipates, and instead order the defendant to post the funds in the

clerk of the court’s registry account.

                                         Respectfully submitted,

                                         TIMOTHY J. HUFMAN, Movant

                                         THE PEACOCK LAW GROUP
                                          On behalf of Movant,

                                         By: s/ Joseph A. Stewart
                                            JOSEPH A. STEWART
                                            Principal Attorney
                                            150 North Michigan Avenue
                                            Chicago, Illinois 60601
                                            (312) 741-1070
                                            joseph.stewart@thepeacocklawgroup.com
